Filed 04/28/22                                       Case 21-90557                                         Doc 59



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      8                                 UNITED STATES BANKRUPTCY COURT

      9                                  EASTERN DISTRICT OF CALIFORNIA

     10     In re:
                                                               Case No.     21-90557
     11     DUANE ANTHONY SHUGART                              DCN:         EML-4
                                                               Chapter      13
     12                     Debtor(s)
                                                               MOTION TO CONFIRM CHAPTER 13
     13                                                        PLAN (11 U.S.C. § 1324)

     14                                                        Judge: Hon. Christopher D. Jaime
                                                               Hearing:
     15                                                        Date: June 7, 2022
                                                               Time: 1:00 PM
     16                                                        Dept: B, 1200 I Street, Suite 200
                                                                       Modesto, CA 95354
     17

     18    TO ALL CREDITORS, THE CHAPTER 13 TRUSTEE, THE UNITED STATES

     19    TRUSTEE, ALL INTERESTED PARTIES, AND THEIR ATTORNEYS OF RECORD:

     20              At the above date, time and place, Debtor Duane Anthony Shugart will move the Court

     21    for an order to confirm Debtor’s attached Amended Chapter 13 Plan of April 22, 2022, pursuant

     22    to 11 U.S.C. §1324 and LR 3015-1 (d)(1). The Plan complies with the requirements 11 U.S.C.

     23    §1324, the provisions of Chapter 13 and other provision of the bankruptcy code.

     24              This motion is supported by Debtor’s declaration filed concurrently.

     25              WHEREFORE, Debtor prays that this Court grant confirm his Amended Chapter 13 Plan

     26    of April 22, 2022, after notice and opportunity to be heard.

     27    Dated: April 28, 2022                                 /s/Evan Livingstone
                                                                 Evan Livingstone
     28                                                          Attorney for Debtor

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                                            Motion to Confirm Chapter 13 Plan
